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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                            CRIMINAL NO. 16-cr-00214-02

 VERSUS                                              JUDGE FOOTE

 DAVID SMITH                                         MAGISTRATE JUDGE HORNSBY



                           REPORT AND RECOMMENDATION

          Upon the request of the District Judge, and with the written and oral consent of

 Defendant, this matter came before the undersigned U.S. Magistrate Judge on December 14,

 2017, for administration of a felony guilty plea under Rule 11 of the Federal Rules of

 Criminal Procedure. Defendant was present with counsel, Lyn Lawrence and Christopher

 Stahl.

          After the hearing, it is the finding of the undersigned that: (1) Defendant is fully

 competent to enter this guilty plea; (2) the plea agreement was properly signed and filed; (3)

 Defendant’s guilty plea to Counts 1 and 2 of the Indictment was freely and voluntarily

 entered, with a full understanding of the nature of the charge and the maximum penalties; (4)

 Defendant made a knowing and voluntary waiver of the right to a jury trial with the full

 assistance of counsel; (5) the guilty plea is fully supported by the factual basis for each of the

 essential elements of the offense; and (6) the plea agreement represents the entire agreement

 between the parties; there are no side agreements between the parties. Both the Government
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 and Defendant waived their right to object to this Report and Recommendation. Accordingly,

         IT IS RECOMMENDED that the District Judge accept the guilty plea of Defendant

 in accordance with the terms of the plea agreement filed in the record of these proceedings,

 and that Defendant be adjudged guilty of the offenses charged in Counts 1 and 2 of the

 Indictment.

         IT IS FURTHER RECOMMENDED that, pursuant to the parties’ waiver of their

 right to object, that the District Judge immediately adopt this Report and Recommendation

 without passage of the customary delays.

         THUS DONE AND SIGNED in Shreveport, Louisiana, this 18th day of December,

 2017.




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